1    TERRY A. DAKE, LTD.
     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
     Telephone: (602) 710-1005
3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )      In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)      Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                             NOTICE OF LODGING ORDER
12
                Please take notice that the attached order has been lodged
13
     with the Court.
14
                DATED April 24, 2023.
15
                                      TERRY A. DAKE, LTD.
16
                                      By /s/ TD009656
17                                      Terry A. Dake
                                        P.O. Box 26945
18                                      Phoenix, Arizona 85068-6945

19

20

21

22

23

24

25

26

27

28
1

2

3

4

5

6
                     IN THE UNITED STATES BANKRUPTCY COURT
7
                          FOR THE DISTRICT OF ARIZONA
8
     In re:                         )   In Chapter 7 Proceedings
9                                   )
     VALLEY HOSPICE OF ARIZONA, INC.)   Case No. 2:21-BK-08392-PS
10                                  )
                         Debtor.    )
11                                  )

12                       ORDER AUTHORIZING RETENTION
                        OF ACCOUNTANT FOR THE TRUSTEE
13
               An Application To Retain Accountant For The Trustee having
14
     been submitted to the Court, and
15
               Good cause appearing therefrom.
16
               IT IS HEREBY ORDERED appointing Keegan Linscott & Associates,
17
     P.C. as accountants for the Chapter 7 trustee.
18
               IT IS FURTHER ORDERED that no payment of fees or costs shall
19
     be made except upon application and further order of the Court.
20
                         DATED AND SIGNED ABOVE.
21

22

23

24

25

26

27

28
